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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH SIMMONS,                              :
     Plaintiff,                              :
                                             :
       v.                                    :    CIVIL ACTION NO. 22-CV-1644
                                             :
OFFICER WILLSON,                             :
     Defendant.                              :
                                             ORDER

       AND NOW, this 19th day of August, 2022, upon consideration of Plaintiff Joseph

Simmons’s motions seeking to proceed in forma pauperis (ECF Nos. 6, 8), his Prisoner Trust

Fund Account Statements (ECF Nos. 7, 9), and his pro se Amended Complaint (ECF No. 5), it is

ORDERED that:

       1.      Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

       2.      Joseph Simmons, #QK-6813, shall pay the full filing fee of $350 in installments,

pursuant to 28 U.S.C. § 1915(b), regardless of the outcome of this case. The Court directs the

Superintendent of SCI Rockview or other appropriate official to assess an initial filing fee of

20% of the greater of (a) the average monthly deposits to Simmons’s inmate account; or (b) the

average monthly balance in Simmons’s inmate account for the six-month period immediately

preceding the filing of this case. The Superintendent or other appropriate official shall calculate,

collect, and forward the initial payment assessed pursuant to this Order to the Court with a

reference to the docket number for this case. In each succeeding month when the amount in

Simmons’s inmate trust fund account exceeds $10.00, the Superintendent or other appropriate

official shall forward payments to the Clerk of Court equaling 20% of the preceding month’s

income credited to Simmons’s inmate account until the fees are paid. Each payment shall refer

to the docket number for this case.
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       3.      The Clerk of Court is DIRECTED to send a copy of this Order to the

Superintendent of SCI Rockview.

       4.      The Amended Complaint is DEEMED filed.

       5.      For the reasons set forth in the Court’s Memorandum, Simmons’s Amended

Complaint is DISMISSED for failure to state a claim pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii)

as follows:

                a.     Simmons’s request for declaratory relief is DISMISSED WITH

                PREJUDICE.

                b.     Simmons’s failure to protect claim is DISMISSED WITHOUT

                PREJUDICE.

       6.      Simmons may file a second amended complaint within thirty (30) days of the date

of this Order solely with respect to his failure to protect claim. Any second amended complaint

must identify all defendants in the caption of the second amended complaint in addition to

identifying them in the body of the second amended complaint and shall state the basis for

Simmons’s claims against each defendant. The second amended complaint shall be a complete

document that does not rely on the Amended Complaint or the initial Complaint or other papers

filed in this case to state a claim. When drafting his second amended complaint, Simmons

should be mindful of the Court’s reasons for dismissing the failure to protect claim in his

Amended Complaint as explained in the Court’s Memorandum. Upon the filing of a second

amended complaint, the Clerk shall not make service until so ORDERED by the Court.




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       7.      The Clerk of Court is DIRECTED to send Simmons a blank copy of the Court’s

form complaint for a prisoner filing a civil rights action bearing the above civil action number.

Simmons may use this form to file his second amended complaint if he chooses to do so. 1

       8.      If Simmons does not wish to further amend his Amended Complaint and instead

intends to stand on his Amended Complaint as originally pled, he may file a notice with the

Court within thirty (30) days of the date of this Order stating that intent, at which time the Court

will issue a final order dismissing the case. Any such notice should be titled “Notice to Stand on

Amended Complaint,” and shall include the civil action number for this case. See Weber v.

McGrogan, 939 F.3d 232 (3d Cir. 2019) (“If the plaintiff does not desire to amend, he may file

an appropriate notice with the district court asserting his intent to stand on the complaint, at

which time an order to dismiss the action would be appropriate.” (quoting Borelli v. City of

Reading, 532 F.2d 950, 951 n.1 (3d Cir. 1976))); In re Westinghouse Sec. Litig., 90 F.3d 696,

703–04 (3d Cir. 1996) (holding “that the district court did not abuse its discretion when

it dismissed with prejudice the otherwise viable claims . . . following plaintiffs’ decision not to

replead those claims” when the district court “expressly warned plaintiffs that failure to replead

the remaining claims . . . would result in the dismissal of those claims”).

       9.     If Simmons fails to file any response to this Order, the Court will conclude that

Simmons intends to stand on his Amended Complaint and will issue a final order dismissing this

case. 2 See Weber, 939 F.3d at 239-40 (explaining that a plaintiff’s intent to stand on his



1
 This form is available on the Court’s website at
http://www.paed.uscourts.gov/documents/forms/frmc1983f.pdf.
2
 The six-factor test announced in Poulis v. State Farm Fire & Casualty Co., 747 F.2d 863 (3d
Cir. 1984), is inapplicable to dismissal orders based on a plaintiff’s intention to stand on his
complaint. See Weber, 939 F.3d at 241 & n.11 (treating the “stand on the complaint” doctrine as
distinct from dismissals under Federal Rule of Civil Procedure 41(b) for failure to comply with a
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complaint may be inferred from inaction after issuance of an order directing him to take action to

cure a defective complaint).

                                             BY THE COURT:



                                             /s/ John M. Gallagher

                                             JOHN M. GALLAGHER, J.




court order, which require assessment of the Poulis factors); see also Elansari v. Altria, 799 F.
App’x 107, 108 n.1 (3d Cir. 2020) (per curiam). Indeed, an analysis under Poulis is not required
when a plaintiff willfully abandons the case or makes adjudication impossible, as would be the
case when a plaintiff opts not to amend his complaint, leaving the case without an operative
pleading. See Dickens v. Danberg, 700 F. App’x 116, 118 (3d Cir. 2017) (per curiam) (“Where
a plaintiff’s conduct clearly indicates that he willfully intends to abandon the case, or where the
plaintiff's behavior is so contumacious as to make adjudication of the case impossible, a
balancing of the Poulis factors is not necessary.”); Baker v. Accounts Receivables Mgmt., Inc.,
292 F.R.D. 171, 175 (D.N.J. 2013) (“[T]he Court need not engage in an analysis of the
six Poulis factors in cases where a party willfully abandons her case or otherwise makes
adjudication of the matter impossible.” (citing cases)).
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